Case 5:24-cv-00113-DCB-ASH Document1 Filed 10/24/24 Pages t Grp

OCT 24 2024

ARTHUR JOHNSTON

DEPUTY

COUNTY, MISSISSIPPI

IN THE CIRCUIT COURT OF wilh nfs

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VS.

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; Bong Fer Disey =
a i Gong enbuy

COMPLAINT

PETITIONER

CAUSE NO. 5M If ADBAH

RESPONDENT(S)

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COMES NOW, / nates Som f Petitioner, and files this his Complaint

and would show unto this Honorable Court the following, to-wit:

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Previous Actions

Have you begun any other action(s) in state or federal court dealing with the same facts

involved in this action or otherwise relating to your imprisonment? _/-~_ yes no

If your answer to the above question is yes, describe the action in the spaces provided

below. (If there are additional actions, use a separate sheet of paper for each additional action.)

a. Parties to the previous action:

Petitioner(s) Zon hae oi. S yn S

Respondent(s) 22. £2 “yy. Deport fl cx bAvaion.

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b. Court: (ASDC Lordbun DebiL ol P05 Lo. Sys"

c. Docket Number: 4, Zo-C v-o002)

d. Name of Judge to whom the case was assigned:

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Disposition of the case: sansa Foy Qk Be tonal ule OeDVOaAY 0 FF on

fore OSS corps fio Mire Erehased
Case 5:24-cv-00113-DCB-ASH Document1 Filed 10/24/24 Page 2 of 7

z, Date of filing of the action: SKA 7 OZO — ZOZY
g. Date of Disposition: 2072 Shor fick

Ii.

Place of Confinement

Is there a prisoner grievance procedure in your institution? / yes no

Did you present the facts relating to your complaint to the institution’s grievance

procedure? Vo yes no

If your answer was yes, spe L, A be oi yl Fe 7) bP free “sf
a. What steps did you take? yy c opropnofe Pst tod Second, Lys

ee Leche wi LBP eae sec Tyrrel feceipfe pyre!
b. What was the Louw Divehi Je 77 de corte ihe kz ovre
Sends Cina afi ow Review)

If your answer was no, explain why not:

If there is no grievance procedure in the institution, did you complain to prison
authorities? yes no

If your answer was yes,

a. What steps did you take?

b. What was the result?

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Parties to this Action

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Mississippi Department of Corrections at ees: arco corre Gontooh ? oe ‘

Respondent, is

employed as with the

Mississippi Department of Corrections at

IV.

Statement of Claims

The following is a brief summary of the facts of the case. (Describe how each respondent
is involved, including dates, places and names. Do not give legal arguments or cite any
cases/statutes. If you intend to allege a number of related claims, number and set forth each

claim in a separate paragraph. Use additional pages if necessary.)

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Relief Sought

Petitioner respectfully requests that this Court (Briefly state what you are asking this

Court to do for you). / P egpec tal af fs dala Da C Phxcrivodh lex

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Respectfully Submitted,

Petitioner

STATE OF MISSISSIPPI

COUNTY OF wifipSor
PERSONALLY APPEARED BEFORE ME, the undersigned authority in and for said

jurisdiction, the within named Petitioner, who, after first being by me duly sworn, stated on oath
that the statements set forth in the above and foregoing are true and correct as therein stated.
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CERTIFICATE OF SERVICE

This is to certify that I have this date, caused to be mailed, via United States Mail,

postage pre-paid, a true and correct copy of the above and foregoing Pleading to:

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SO CERTIFIED, this the 2“ _ day of Zé ipa 2024
Petitioner
MDOC #
Address

Address
